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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  SELINA MARIE RAMIREZ et al,                  §
                                               §
             Plaintiffs,                       §
                                               §
  v.                                           §   Civil Action No. 3:19-CV-01529-X
                                               §
  CITY OF ARLINGTON TEXAS et al,               §
                                               §
             Defendants.                       §

                    ORDER REQUIRING ATTORNEY CONFERENCE
                        AND PROPOSAL FOR CONTENTS OF
                      SCHEDULING AND DISCOVERY ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b) and the Court’s Civil Justice
Expense and Delay Reduction Plan, the Court enters this order to promote possible
early settlement of this action and to facilitate subsequent entry of a Scheduling and
Discovery Order.


                                           I.
       Lead counsel for each party (or a designee attorney with appropriate authority)
shall personally meet at a mutually agreeable location at least 14 days before the
date specified in Section VII of this order. 1 Counsel shall determine in good faith
whether this case can be settled before additional expenses are incurred. Counsel
shall also submit a Joint Proposal for Contents of Scheduling and Discovery Order.
The Joint Proposal shall include a status report setting out the progress made at the
meeting and the present status of settlement negotiations. (In a non-jury case, the
parties shall not disclose settlement figures.) The parties shall also advise the Court
regarding the advisability of referring the cases for mediation.




       1   Fed. R. Civ. P. 26(f)(1)–(2).

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                                                  II.

       If the case does not settle, counsel shall submit a Joint Proposal that contains
the following:


       1.        A proposed time limit to file motions for leave to join other parties and
                 to amend the pleadings;
       2.        Proposed time limits to file various types of motions;
       3.        A proposed plan and schedule for discovery, including a time limit to
                 complete discovery;
       4.        A proposal for limitations, if any, to be placed upon discovery;
       5.        A proposed time limit to designate expert witnesses;
       6.        A proposed trial date, estimated number of days required for trial, and
                 whether a jury has been demanded;
       7.        A proposed date for commencing settlement negotiations;
       8.        Whether the parties will consent to trial (jury or non-jury) before a
                 United States Magistrate Judge; 2
       9.        Whether the parties are considering mediation or arbitration to resolve
                 this litigation, and if not then why not; 3
       10.       Any other proposals regarding scheduling and discovery and that the
                 parties believe will facilitate expeditious and orderly preparation for
                 trial, including the parties’ positions on a consolidated discovery
                 schedule; and
       11.       Any other matters relevant to the status and disposition of this case.




       2 Before responding to this question, counsel are directed to carefully review the provisions of
28 U.S.C. § 636(c) and, specifically, section 636(c)(3).

       3   The Court encourages the early use of mediation or arbitration.


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                                           III.
         Lead counsel for plaintiff is responsible for initiating contact with opposing
counsel for the purpose of preparing the Proposal. But lead counsel for all parties are
equally responsible for seeing that this order is complied with in a timely manner. At
least one counsel for each party shall sign the Proposal prior to filing.


                                           IV.
         If counsel cannot agree on a recommendation, the Proposal shall set forth each
party’s respective recommendation and shall state why agreement could not be
reached.


                                           V.
         Because the Court is to enter a Scheduling Order “as soon as practicable, but
unless the judge finds good cause for delay, the judge must issue it within the earlier
of 90 days after any defendant has been served with the complaint or 60 days after
any defendant has appeared,” 4 the Court will review with disfavor requests for
extensions of time to file the Proposal and will deny them absent a showing of good
cause.


                                           VI.
         Unless the Court sets or a party requests a scheduling conference, the
Scheduling and Discovery Order will be issued following the Court’s review of the
Proposal. Once the Scheduling Order has been issued, the Court will review with
disfavor requests for extensions of the Scheduling Order’s deadlines and will deny
them absent a showing of good cause.


                                          VII.
         The Proposal shall be filed on or before November 6, 2019.


         4   Fed. R. Civ. P. 16(b)(2).

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  IT IS SO ORDERED this 21st day of October, 2019.




                               BRANTLEY STARR
                               UNITED STATES DISTRICT JUDGE




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